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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        NORTHERN DIVISION

CARL KOCH,

      Plaintiff,                          Case No: 1:18-cv-11449-TLL-PTM
                                          Hon. Thomas L. Ludington
vs.                                       Magistrate Patricia T. Morris

SOARING EAGLE CASINO & RESORT,
INTERNATIONAL SERIES OF
CHAMPIONS, AMSOIL INC., & CHRYSLER
GROUP, L.L.C.,

      Defendants.


  STIPULATED DISMISSAL WITH PREJUDICE AS TO PLAINTIFF’S
  CLAIMS AGAINST DEFENDANTS INTERNATIONAL SERIES OF
    CHAMPIONS, AMSOIL, INC. AND CHRYSLER GROUP, L.L.C.

      Plaintiff and Defendants International Series of Champions, Amsoil,

Inc. and Chrysler Group, L.L.C., by and through their respective attorneys,

hereby stipulate to the dismissal of Plaintiff’s claims against Defendants

International Series of Champions, Amsoil, Inc. and Chrysler Group,

L.L.C., with prejudice and without costs or fees to either party.

/s/ Carla D. Aikens                       /s/ Joshua I. Arnkoff
CARLA D. AIKEN (P69530)                   JOSHUA I. ARNKOFF (P63139)
Attorney for Plaintiff                    Attorney for Defendants

Dated: June 11, 2019
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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        NORTHERN DIVISION

CARL KOCH,

      Plaintiff,                         Case No: 1:18-cv-11449-TLL-PTM
                                         Hon. Thomas L. Ludington
vs.                                      Magistrate Patricia T. Morris

INTERNATIONAL SERIES OF
CHAMPIONS, AMSOIL INC., & CHRYSLER
GROUP, L.L.C.,

      Defendants.

  ORDER FOR DISMISSAL WITH PREJUDICE AS TO PLAINTIFF’S
  CLAIMS AGAINST DEFENDANTS INTERNATIONAL SERIES OF
   CHAMPIONS, AMSOIL, INC. AND CHRYSLER GROUP, L.L.C.

      This matter having come before the Court by Stipulation of the

parties;

      IT IS HEREBY ORDERED AND ADJUDGED that this matter is

hereby dismissed with prejudice and without costs or fees to the parties as

to Plaintiff’s Claims against Defendants International Association of

Champions, Amsoil, Inc. and Chrysler Group, L.L.C.

      IT IS FURTHER ORDERED that this order closes the case.

      Dated: June 17, 2019                     s/Thomas L. Ludington
                                               THOMAS L. LUDINGTON
                                               United States District Judge
